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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA and              Civil No. 12-3319 (SDW)
 the STATES OF NEW JERSEY and
 NEW YORK, ex rel. KENNETH W.
 ARMSTRONG,

       Plaintiff & Relator,                  NOTICE OF APPEARANCE

 - vs –

 ANDOVER SUBACUTE & REHAB
 CENTER SERVICES ONE, INC., et
 al.,

       Defendants.


      PLEASE TAKE NOTICE that the undersigned hereby enters his

appearance as counsel for Defendants Andover Subacute & Rehab

Center Services One, Inc., Andover Subacute & Rehab Center Services

Two, Inc., and Estate of Dr. Hooshang Kipiani.

                                       /s/ Blan Jarkasi
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 February 26, 2019
